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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

LEILA GREEN LITTLE, et al.,                         §
                                                    §
                Plaintiffs,                         §
                                                    §
v.                                                  §                      1:22-CV-424-RP
                                                    §
LLANO COUNTY, et al.,                               §
                                                    §
                Defendants.                         §

                                               ORDER

        On May 23, 2025, the United States Court of Appeals for the Fifth Circuit reversed this

Court’s ruling on the preliminary injunction, rendered judgment dismissing Plaintiffs’ Free Speech

claims, and remanded this case for further proceedings. (Dkt. 180).

        In light of the Fifth Circuit dismissing Plaintiffs’ First Amendment claims, IT IS

ORDERED that the parties shall file a joint status report on or before June 18, 2025, apprising the

Court of the parties’ live claims and anticipated next procedural steps.

          SIGNED on May 27, 2025.

                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
